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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                           FORT WAYNE DIVISION


EMMA WILSON and HANNAH STOFFEL,    )
                                   )
                Plaintiffs,        )
                                   )
     v.                            )
                                   )                   Case No.: 1:22-cv-00336-HAB-SLC
NICHOLAS JOHNSON, HUNTINGTON       )
UNIVERSITY, HUNTINGTON UNIVERSITY )
BOARD OF TRUSTEES, LAUREN JOHNSON, )
CURTIS HINES and JOHN DOES 1-50,   )
                                   )
                Defendants.        )



            HUNTINGTON UNIVERSITY AND HUNTINGTON
        UNIVERSITY BOARD OF TRUSTEES’ MOTION TO CONTINUE
               PRELIMINARY PRETRIAL CONFERENCE


       COME NOW Defendants, Huntington University and Huntington University

Board of Trustees, by counsel, and hereby respectfully move the Court to continue the

Preliminary Pretrial Conference and, in support of this Motion, show the Court as follows:

       1.     On September 30, 2022, Plaintiffs filed their Complaint for Damages.

       2.     In the Complaint, Plaintiffs have asserted claims under Title IX against

Defendants, Huntington University and Huntington University Board of Trustees,

invoking the Court’s exercise of its original jurisdiction under 28 U.S.C. § 1331. In

addition, Plaintiffs have asserted state law claims against all of the Defendants requesting

that the Court exercise supplemental jurisdiction over such claims.

       3.     On November 23, 2022, these Defendants filed a Motion to Dismiss

Plaintiffs’ Title IX claims pursuant to Fed. R. Civ. P. 12(b)(6) against them for the reason


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that the Plaintiffs have failed to state a claim under Title IX of the Educational

Amendments of 1972.

       4.     On November 3, 2022, the Court issued a Notice of Preliminary Pretrial

Conference, scheduling a telephone Preliminary Pretrial Conference with Magistrate

Judge Susan L. Collins on December 6, 2022 at 11:00 a.m.

       5.     In the event that the Court grants the Motion to Dismiss, there will be no

remaining federal claims and presumably the Court will dismiss the lawsuit leaving

Plaintiffs with the option of refiling their state law claims in state court.

       6.     In order to avoid wasting the valuable time and resources of the Court and

counsel, it would seem appropriate to continue the Preliminary Pretrial Conference until

a date after the Court rules on the Motion to Dismiss. At that point, depending upon the

Court’s Order, the issue of holding a Preliminary Pretrial Conference will either be moot

or should the case remain in federal court, then the Conference can be reset and

appropriate pretrial dates and deadlines can be established.

       7.     Counsel for the other Defendants have no objection to the grant of this

Motion. However, counsel for the Plaintiffs objects to continuing the Preliminary Pretrial

Conference and intends to file a written objection.

   WHEREFORE, Defendants, Huntington University and Huntington University Board

of Trustees, by counsel, pray that the Court grant their Motion to Continue Preliminary

Pre-Trial Conference; that the Preliminary Pretrial Conference scheduled for December

6, 2022 be continued to be reset, if necessary, after the Court rules on the pending Motion

to Dismiss; and for all other just and proper relief in the premises.




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                                         Respectfully submitted,

                                         BARRETT McNAGNY LLP

                                         By /s/Robert T. Keen, Jr.
                                             Robert T. Keen, Jr., #5475-02
                                             Cathleen M. Shrader, #18159-02
                                             215 East Berry Street
                                             Fort Wayne, IN 46802
                                             Telephone: (260) 423-9551
                                             Email: rtk@barrettlaw.com
                                                    cms@barrettlaw.com

                                         Attorney for Huntington University
                                         and Huntington University Board of
                                         Trustees




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                             CERTIFICATE OF SERVICE

       I hereby certify that I have this 30th day of November, 2022, electronically filed
the foregoing with the Clerk of the Court using the CM/ECF which sent notification of
such filing to the following:

 Annemarie Alonso                                 Rachel J. Guin
 Jonathan Little                                  ROTHBERG LOGAN & WARSCO, LLP
 Gabrielle Olshemski                              505 E. Washington Blvd.
 SAEED AND LITTLE, LLP                            Fort Wayne, IN 46803
 133 W. Market Street #189                        rguin@rothberg.com
 Indianapolis, Indiana 46204
 annie@sllawfirm.com                              Pamela G Schneeman,
 jon@sllawfirm.com                                STEPHENSON MOROW & SEMLER
 gaby@sllawfirm.com                               3077 East 98th St Ste 240
                                                  Indianapolis, IN 46280
 Brock Hagerman                                   pschneeman@stephlaw.com
 HULSE, LACEY, HARDACRE, & AUSTIN PC
 911 Meridian Street                              Matthew L Hinkle
 Anderson, Indiana 46016                          COOTS HENKE & WHEELER PC
 brock@hulse-lacey.com                            255 E Carmel Drive
                                                  Carmel, IN 46032
 Derek L. Mandel                                  mhinkle@chwlaw.com
 MANDEL RAUCH & LAMMERS, P.C.
 704 Adams Street, Suite F                        Liberty L. Roberts
 Carmel, Indiana 46032                            CHURCH CHURCH HITTLE & ANTRIM LLP
 dmandel@mhmrlaw.com                              Two North Ninth Street
                                                  Noblesville, IN 46060
                                                  lroberts@cchalaw.com




                                              /s/Robert T. Keen, Jr.
                                              Robert T. Keen, Jr.




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